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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


LANEEKA A. WHITE, et al.                         )   CASE: 12-CV-00943
                                                 )
       Plaintiffs,                               )   JUDGE DAN AARON POLSTER
                                                 )
       v.                                        )
                                                 )   MEMORANDUM IN SUPPORT OF
Wells Fargo BANK, N.A.                           )   UNOPPOSED MOTION FOR FINAL
Trading as Wells Fargo Dealer Services           )   APPROVAL OF SETTLEMENT AGREEMENT,
                                                 )   ATTORNEYS’ FEES AND CLASS
       Defendant.                                )   REPRESENTATIVE INCENTIVE PAYMENT
                                                 )


                                      I.      Introduction

       The parties have negotiated and this Court has preliminarily approved a settlement worth

in excess of 22 million that will resolve this consumer class action. The proposed settlement,

preliminarily approved by the Court by Order dated January 22, 2014, provides cash payments to

Settlement Class Members whose vehicles were repossessed by Wells Fargo Bank, N.A., Wells

Fargo Dealer Services, a division of Wells Fargo Bank, N.A., Wachovia Dealer Services, Inc.,

Wells Fargo Auto Finance, LLC and/or Wells Fargo Auto Finance, Inc. (“Wells Fargo”). It

further provides complete debt relief for all Settlement Class Members with outstanding

deficiency balances, which total more than $21 million. These benefits are directly responsive to

the relief that Plaintiffs Laneeka White and Timothy Reese (“Plaintiffs”) sought in their

complaint, which challenges Wells Fargo’s issuance of alleged defective post-repossession

notices.

       This Settlement Agreement is now subject to final approval by this Court. In accordance

with the Court’s Order on Preliminary Approval (“Order”), a copy of which is attached as
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Exhibit A, notice was published in ten newspapers of general circulation in major Ohio cities

and was also sent by first class United States mail to all known members of the Settlement Class,

advising them of the final approval hearing and how their rights may be affected by the proposed

settlement. See Notice of Class Action Settlement, attached as Exhibit B. Of approximately

6,121 noticed Settlement Class Members including co-borrowers, not one objected to the

settlement or opted out. A copy of the Settlement Administrator’s Affidavit, which was filed as

Dkt. No. 43,is attached as Exhibit C.

       The exceptional benefits provided for under this settlement and its 100% acceptance rate

by the class demonstrate that it is fair, adequate, and reasonable and worthy of final approval.

For these reasons, and for the reasons detailed below, the Court should approve the proposed

settlement in all respects, including the certification of the proposed Settlement Class. A

proposed form of Final Approval Order is attached as Exhibit D.

                                 II.     Summary Of The Case

       This consumer class action alleges that Wells Fargo failed to provide statutorily

mandated disclosures when it repossessed vehicles from Ohio consumers. Specifically,

Plaintiffs’ First Amended Class Action Complaint [Dkt. # 33] (“Complaint”) alleges that Wells

Fargo issued notices to consumers following the repossession of their financed automobiles that

were substantially and materially defective. Wells Fargo denies these allegations.

     A.    Legal Background

       In the Complaint, Plaintiffs allege that Wells Fargo’s form post-repossession notices

misinformed borrowers about important rights and omitted key required disclosures, violating

both the Uniform Commercial Code (“UCC”), R.C. §§ 1309.610, 1309.613 and 1309.614 and

the Retail Installment Sales Act (“RISA”), R.C. §§ 1317.07, 1317.12 and 1317.16, because it

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failed to correctly state (a) the minimum price at which the vehicle would be sold and/or (b) the

date, time, or location of sale. In addition, the Complaint alleges that Wells Fargo issued

“Deficiency Notices” that stated monies identified as “collection fees” would be deducted from

the proceeds of sale that were not in fact collection fees. Finally, the Complaint alleges that

Wells Fargo collected or attempted to collect deficiencies from borrowers which were precluded

by § 1317.12 and/or § 1317.16.

     B.      Statement Of The Claims And Defenses

          Plaintiffs’ claims are premised on the standard forms Wells Fargo used as post-

repossession notices in the repossession and sales of the vehicles between March 2, 2006 and

November 1, 2013, and the statutory requirements which they allege that Wells Fargo violated.

Under both the UCC and RISA, a post repossession notice must state the time and place of a

public sale. R.C. § 1309.613(A)(1)(e), R.C. § 1317.16(B). RISA also requires that the notice

state the minimum price at which the vehicle will be sold. R.C. § 1317.16(B). Failure to comply

with the UCC notice provisions gives rise to statutory damages. R.C. § 1309.625 (holder’s

failure to comply with R.C. § 1309.614 makes it liable for statutory damages equal to the credit

service charges owed under the contract plus ten percent of the loan amount). Plaintiffs assert

that under RISA, Wells Fargo’s failure to comply with the notice requirements of R.C. §§

1317.12 and 1317.16 deprives it of any right to obtain a deficiency.

          In addition to statutory damages, Plaintiffs’ Complaint seeks a declaration that Wells

Fargo’s acts and practices, namely, its alleged violations of R.C. §§ 1317.16, and 1309.613 and

614, are unlawful. The Complaint also seeks an injunction to prohibit Wells Fargo from

continuing to engage in these practices and requiring that Wells Fargo remove adverse credit



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information previously reported to credit reporting organizations, as well attorneys’ fees, costs

and expenses.

       Wells Fargo denies that the notices were defective, and among other defenses, challenged

the appropriateness of this case for class treatment.

       After filing this action, Class Counsel conducted substantial investigation and informal

discovery, after which the parties agreed to attempt mediation. The parties engaged in a full-day

mediation sessions with Retired Judge Richard Neville. This day of mediation moved the parties

but did not resolve the case. Thereafter, the parties engaged in extensive negotiations which

eventually led to the final terms of the proposed Settlement Agreement before this Court.

       On January 22, 2014, this Court entered an Order preliminarily approving the Settlement

Agreement and conditionally certifying a Settlement Class.

                                III.    Terms Of The Settlement

       The material terms of the parties’ Settlement Agreement include the following:

      A. Class Definition. “Settlement Class” means all persons who executed a retail

installment contract in Ohio where:

           a. Wells Fargo Bank, N.A., Wells Fargo Auto Finance, LLC, Wells Fargo Auto
              Finance, Inc., Wells Fargo Dealer Services and/or Wachovia Dealer Services was
              the party with the rights to enforce a retail installment contract executed by an
              Ohio resident;

           b. The retail installment contract was secured by a lien on a motor vehicle;

           c. Wells Fargo repossessed the vehicle in the State of Ohio between March 2, 2006
              through November 1, 2013 due to a default on the underlying retail installment
              contract, and sold the vehicle for purposes of satisfying the default or gave notice
              that it intended to so do;

       and who:

           a. were issued a notice of sale by Wells Fargo which failed to provide the correct
              date, time and location for the auction of the vehicle;
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           b. were issued a notice of sale by Wells Fargo where the minimum bid price for the
              vehicle at public auction was either not included in the notice or the vehicle was
              subsequently sold at public auction for less than the minimum bid amount
              disclosed in the notice of sale; or

           c. were issued a notice of deficiency which deducted monies as “collection fees”
              that were not in fact collection fees.

       and who:

           a. Have not had judgment issued or entered against them and in favor of Wells
              Fargo relating to the account;

           b. None of the obligors on the account have filed for relief or had an involuntary
              petition for relief filed against them pursuant to the United States Bankruptcy
              Code; or

           c. Are not now and have never been executives of the Wells Fargo and the spouses,
              parents, siblings and children of all such individuals.

      B. Economic Relief for Class Members

      On the Distribution Date, as defined by the Settlement Agreement, Wells Fargo shall

provide the following financial relief to Settlement Class Members:

    1.             Using monies provided by Wells Fargo, the Settlement Administrator will
            mail each Settlement Cash Refund Eligible Class Member (as defined in the
            Settlement Agreement) a check in the amount of the Settlement Cash Refund
            Eligible Class Member’s pro rata share of the Settlement Fund, after the deduction of
            the costs of notice and administration, attorneys’ fees and incentive payments. The
            pro rata share shall be equal to the ratio of the aggregate Deficiency Payments the
            class member made to all Deficiency Payments made by all Settlement Cash Refund
            Eligible Class Members;


    2.            Wells Fargo shall permanently abandon any claim it holds to the Deficiency
            Balance allegedly owed by any Settlement Class Member. Plaintiffs assert that
            Wells Fargo’s agreement and decision to forgo collection of the alleged deficiency
            balances of Settlement Class Members is based upon the operation of state law.

[Settlement Agreement, §5(A)]

       The value of the claims that Wells Fargo is abandoning is in excess of $21 million dollars

with balances being waived averaging $5,741.62 and ranging from $1.58 to $30,298.06.
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            C. Relief not Specifically Monetary

       In addition to the monetary relief, Wells Fargo has agreed to engage in remediation of the

Class Member’s credit as it relates to these loans. Wells Fargo will report to the three major

credit reporting agencies that these loans are either paid in full or request that the trade line be

removed from the Class Members’ credit reports in its entirety. Such action will result in an

improvement to each Class Members’ credit. This could make it easier for the Class Members to

obtain credit in the future.

            D. Notice and Administration.

                As required by the Settlement, the Settlement Administrator, A.B. Data, Ltd.

                mailed notice to identified members of the Settlement Class in accordance with

                the schedule contained in the Preliminary Approval Order, and the terms of the

                Settlement Agreement. [Settlement Agreement, ¶ 9(D)]. Class Notice was sent by

                first class United States mail to all identified members of the Settlement class in

                accordance with the schedule contained in the Preliminary Approval Order, and

                the terms of the Settlement Agreement. [Settlement Agreement, ¶ 9 (D)]. In

                addition, the Settlement Administrator caused the publication notice to be placed

                in ten newspapers of general circulation around the State of Ohio. Costs of

                providing notice to the Class Members, administering the Settlement Agreement

                and making the cash payments and distributions required under the Agreement

                were advanced by Wells Fargo and are to be deducted from the attorneys’ fee

                portion of the Settlement Fund by the Settlement Administrator[Settlement

                Agreement, ¶ 5 (D–F)]. The cash payments and distributions required under this



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               agreement shall be paid from the remaining amount in the Settlement Fund. (The

               Affidavit of the Settlement Administrator is attached as Exhibit C).

            Incentive Payment. Subject to approval of this Court, using monies provided byWells

Fargo, the Settlement Administrator will pay an incentive award to the Class Representatives,

Laneeka White and Timothy Reese, in the amount of $2,500.00 each, payable from the

Settlement Fund, for serving in the capacity of class representatives. [Settlement Agreement,

§5(H)(2)]

            Attorneys’ Fees and Costs. The Settlement Agreement provides that Class Counsel

may seek from the Settlement Fund $475,000 in attorneys’ fees, costs for administration of the

Settlement and expenses. [Settlement Agreement, §5(H)(1)]. Class Counsel has applied for such

an award, and Wells Fargo has agreed not object to this request. The Settlement Administrator

will pay such amount from the Settlement Fund if awarded by the Court, subject to the terms of

this Settlement. The parties did not address the issue of attorneys’ fees until after agreement was

reached on all material terms of this Settlement.

       The attorney fees negotiated are consistent with numerous other class settlements relating

to repossession in Ohio and in this case represent (even prior to deducting the costs of notice and

administration) just over 2% of the total monetary benefit provided to the class.

       Identification of Class Members. Wells Fargo represented that, to the best of its

knowledge based on researching customer accounts, the Settlement Class encompasses

approximately 5,253 accounts and the total Deficiency Balances allegedly currently owed by

Settlement Class Members is approximately 21 million dollars. A list of the Settlement Class

Members was sent by Wells Fargo’s Counsel to the Settlement Administrator and Class Counsel

within 30 days of the entry of Preliminary Approval.

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       Exclusions, Objections, and Final Approval. Each Class Member identified from Wells

Fargo’s records received a notice which included a description of his or her right to elect not to

be part of the Settlement Class and not to be bound by the Settlement, if, within such time as was

ordered by the Court and contained in the notice, the affected person sent an appropriate opt-out

notice. Class Counsel is obliged to file with the Court, and serve on Wells Fargo’s counsel, a list

of all persons who have excluded themselves from the Settlement Class in a timely manner.

However, such a fling is not anticipated since no person excluded themself from the settlement.

           Cy Pres Award. Subject to the Court's approval, that a cy pres fund will be created to

address any residue of the Settlement Fund remaining for any reason, including checks that are

not negotiated or are returned and remain undeliverable after 90 days following the mailing of

the checks to Settlement Cash Refund Eligible Class Members pursuant to this Agreement. The

cy pres fund shall be donated, with the approval of the Court, to the Ohio Legal Aid Foundation

and the Cleveland Food Bank as a pass through to the Solon Mobile Food Pantry (“Charties”).

The Settlement Administrator, 110 days after the checks are mailed to the Settlement Cash

Refund Eligible Class Members under, shall forward funds payable to the Charities to the escrow

account of Class Counsel. Class Counsel shall remit the funds to the Charities and provide proof

of such payment to Wells Fargo’s counsel. [Settlement Agreement, §§5(I)]

                   IV.     Standard Of Review Of Class Action Settlements

       Ohio courts, both federal and state, consistently favor settlement of disputed claims. Franks

v. Kroger Co., 649 F.2d 1216, 1224 (6th Cir. 1981) vacated on other grounds and modified, 670

F.2d 71 (6th Cir. 1982) (law generally favors and encourages the settlement of class actions);

Sutherland, et al. v. ITT Residential Capital Corporation, et al., 702 N.E.2d 436, 443 (Ohio Ct.

App. 1997). Compromise is particularly appropriate in class actions. Franks, 649 F.2d at 1224;

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Enterprise Energy Corp. v. Columbia Gas Transmission Corp., 137 F.R.D. 240, 246 (S.D. Ohio

1991); In re Dun & Bradstreet Credit Service Consumer Litigation, 130 F.R.D. 366, 371 (S.D. Ohio

1990). See generally 4 H. Newberg, et al., Newberg on Class Actions §11.41 (4th ed. 2002).

       In reviewing a proposed settlement, courts should not substitute their own judgment

for that of the parties who negotiated the settlement. In re Sulzer Hip Prosthesis and Knee

Prosthesis Liability Litigation, 2001 WL 1842315, at *13 (N.D. Ohio 2001) (citations

omitted); In re Inter-Op Hip Prosthesis Liability Litigation, 204 F.R.D. 330, 350 (N.D. Ohio

2001); City of Detroit v. Grinnell Corp., 495 F.2d 448, 462 (2nd Cir. 1974).

       Instead, when deciding whether to approve the proposed settlement, the Court must

determine whether the proposal is fair, adequate, and reasonable. See United States v. Jones &

Laughlin Steel Corp., 804 F.2d 348, 351 (6th Cir. 1986); Williams v. Vukovich, 720 F.2d 909,

921 (6th Cir. 1983). “[T]here is a strong initial presumption that the compromise is fair and

reasonable.” Bronson v. Board of Educ., 604 F. Supp. 68, 71-72 (S.D. Ohio 1984) (once

preliminary approval is entered the settlement is "presumptively reasonable"); Katz v. E.L.I.

Computer Systems, Inc., [1970-71 Transfer Binder] Fed. Sec. L. Rep. (CCH) ¶ 92,994 at 90,676

(S.D.N.Y. 1971).

       Accordingly, courts exercise restraint in examining a proposed settlement and recognize

that “[s]ettlements, by definition, are compromises which need not satisfy every single concern

of the plaintiff class, but may fall anywhere within a broad range of upper and lower limits.” In

re Saxon Securities Litigation, Fed. Sec. L. Rep. P. 92,414, 92,525 (S.D.N.Y. 1985), quoting

Alliance to End Repression v. City of Chicago, 561 F. Supp. 537, 548 (N.D. Ill. 1982).

       Courts presume a settlement is fair if it has been negotiated at arm’s length by

experienced counsel. In re Inter-Op Hip, at 351, citing Duhaime v. John Hancock Mut. Life

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Ins. Co., 177 F.R.D. 54, 68 (D. Mass. 1997); Granada Investments, Inc. v. DWG Corp., 823

F. Supp. 448, 454 (N.D. Ohio 1993); In re Orthopedic Bone Screw Prods. Liab. Litig., 176

F.R.D. 158, 184 (E.D.Pa.1997) (“[s]ignificant weight should be attributed ‘to the belief of

experienced counsel that settlement is in the best interest of the class'”) (internal citations

omitted). .

               V.     The Proposed Settlement Is Fair, Adequate And Reasonable

        In determining whether a proposed settlement is fair, adequate and reasonable, this Court

should consider the following seven factors:

              (1)   the likelihood of success or recovery;

              (2)   the amount and nature of discovery or evidence;

              (3)   the settlement terms and conditions;

              (4)   the recommendation and experience of trial counsel;

              (5)   the expense and duration of future litigation;

              (6)   the number of objections to the Settlement Agreement and the
                    nature of the objections; and

              (7)   the presence of good faith and the absence of collusion among the
                    parties and attorneys.

Mayborg v. City of St. Bernard, No. 1:04-CV-00249, 2007 WL 3047235, at *3 (S.D. Ohio, Oct.

18, 2007); see also Toledo Fair Housing Ctr. v. Nationwide Mut. Ins. Co., 94 Ohio Misc. 2d 86,

188.

        Application of these factors shows that the proposed settlement is not only fair, adequate,

reasonable and in the best interests of the Settlement Class, it represents an excellent result for

the Settlement Class.



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       A.      Even With A Strong Factual And Legal Case, Settlement Class Members Face
               A Substantial Risk In Establishing Liability And Damages

       Although Plaintiffs believe that their claims against Wells Fargo are meritorious, they

recognize that ultimate success on the merits is by no means assured. During the course of this

litigation, Wells Fargo has made clear that if this matter were further contested, it would

vigorously challenge the merits of Plaintiffs’ claims. Wells Fargo has contended and continues to

contend that it has meritorious defenses to the asserted claims, that its notices complied with

applicable law, and that this matter is not appropriate for class treatment.

       B.      The Parties Have Negotiated The Settlement From A Well-Informed
               Perspective

       Through this litigation and the mediation session as well as the ensuing further

negotiations, the parties have developed substantial appreciation for the merits of their respective

positions before reaching an agreement as to settlement. Declaration of Ronald Frederick In

Support Of Final Approval Of Settlement Agreement, Attorneys’ Fees and Class Representative

Incentive Payment (“Frederick Decl., ”) ¶ 13, attached as Exhibit E. The parties have conducted

formal and informal discovery, and in conjunction with the mediation in this case, the parties

exchanged information and documents relevant to settlement, including information about

notices used and deficiencies outstanding.

       Through this process Plaintiffs acquired sufficient knowledge and information to develop

a full understanding of the merits of the case, and assess a potential settlement. Frederick Decl.,

¶¶ 13, 15. The case was successfully concluded with hard work by the parties after a mediation

session in Chicago with well-respected retired JAMS Mediator Judge Richard Neville. The

negotiations took almost six additional months , and the settlement was not finalized in a term

sheet until there had been many conversations and at least two telephonic conferences with this

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Court assisting the parties in the proper direction. Id. Once the general terms of the settlement

were reached, the parties continued to negotiate the specific provisions and language of the

Settlement Agreement over a period of time. All negotiations were conducted with full

information, at arm’s length, with both parties vigorously asserting their respective positions.

Frederick Decl., ¶ 15.

       C.      The Settlement Terms And Conditions Offer Substantial Benefit To All
               Settlement Class Members

       Benefit to the Settlement Class is the fundamental test of the reasonableness of a

settlement. Here, the proposed settlement provides remedies directly responsive to the primary

relief sought by Plaintiffs: monetary relief for Settlement Class Members who were sent

defective repossession notices, and the abandonment of any outstanding claimed deficiency

balances. [Settlement Agreement, ¶ 5(A)]. As noted, such deficiency balances amount to more

than $21 million for the class period. Id. Settlement Class Members will all receive a pro rata

share of the $950,000 Settlement Fund, after deduction of attorneys’ fees and costs, and the

Plaintiffs’ incentive payment. [Settlement Agreement, ¶ 5(H)(2)]. The Settlement also provides

non-monetary benefits that significantly enhance its value to Settlement Class Members. It

requires Wells Fargo to report Settlement Class Members’ deficiency balances as zero to the

credit reporting bureaus, thereby improving Settlement Class Members’ credit. [Settlement

Agreement, ¶ 5(A)(ii)]. Any residual funds will revert to a cy pres trust, and be donated equally

to the Ohio Legal Aid Foundation and the Cleveland Food Bank, as a pass through to the Solon

Mobile Food Pantry (“Charities”). The Settlement Administrator, 110 days after the checks are

mailed to the Settlement Cash Refund Eligible Class Members, shall forward funds payable to

the Charities to the escrow account of Class Counsel. Class Counsel shall remit the funds to the


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Charities and provide proof of such payment to Wells Fargo’s counsel. [Settlement Agreement,

§§5(I)]

          Thus, the Settlement Agreement provides substantial and meaningful relief, and in

addition, provides Settlement Class Members clear notice so that they could make an informed

decision about whether to participate. It is also noteworthy that Settlement Class Members will

be entitled to receive all of the relief provided in the Settlement Agreement without having to

submit a claim form.

          Of course, the essence of a settlement is compromise. A settlement compromising

conflicting positions in class action litigation serves the public interest. In re Telectronics Pacing

Sys., 137 F. Supp. 2d 985, 1008 (S.D. Ohio 2001) (“Being a preferred means of dispute

resolution, there is a strong presumption by courts in favor of settlement.” ); Enter. Energy Corp.

v. Columbia Gas Transmission Corp., 137 F.R.D. 240, 246 (S.D. Ohio 1991) (“The law

generally favors and encourages the settlement of a class action.”).

          In evaluating a settlement, the trial court should not decide the merits, or proceed from the

assumption that victory is assured and that all claimed damages are properly recoverable. See In

re Domestic Air Transportation Antitrust Litigation, 148 F.R.D. 297, 312-13 (N.D. Ga. 1993). A

settlement need not obtain one hundred percent of actual damages if it represents a knowing and

intelligent compromise. See Bennett v. Behring Corp., 737 F.2d 982, 987 (11th Cir. 1984)

(settlement providing for $675,000 of maximum possible $12 million recovery adequate). In

contrast, the Settlement here affords Settlement Class Members a large measure of the relief

available to the Class should the case be tried, and as such, is demonstrably just and reasonable.

          D.     Class Counsel Believes That The Settlement Is Fair, Reasonable And In the
                 Best Interest Of Settlement Class Members


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       The opinion of experienced class action counsel with substantial experience in litigation

of similar size and scope is an important consideration. Bronson v. Board of Educ., 604 F. Supp.

68, 71-72 (S.D. Ohio 1984). Judges should not substitute their own judgments as to optimal

settlement terms for the judgment of the litigants and their counsel. Id.; see also Ressler v.

Jacobson, 822 F. Supp. 1551, 1553 (M.D. Fla. 1992).

        In deciding whether to finally approve a settlement courts should defer to the judgment of

experienced counsel who have competently evaluated the strength of the plaintiff’s case. Williams v.

Vukovich, 720 F.2d 909, 922-23 (6th Cir. 1983); Enterprise Energy, supra, 137 F.R.D. at 247

(endorsement of settlement by experienced counsel supported fairness, adequacy and

reasonableness of settlement); Ohio Public Interest Campaign v. Fisher Foods, 546 F. Supp. 1, 11

(N.D. Ohio 1982) (opinion of counsel to be given great weight by the Court). Indeed, there is a

“strong initial presumption” that an arm’s length settlement arrived at by experienced counsel

and premised upon sufficient information to evaluate the claims at issue is fair. See Feder v.

Harrington, 58 F.R.D. 171 (S.D.N.Y. 1972).

       Here, the proposed settlement is the product of extensive, adversarial, arm’s length

negotiations conducted by counsel experienced in all aspects of class action litigation, and

particularly experienced in the consumer fraud context. Declaration of Ronald Frederick In

Support of Final Approval of Class Action Settlement, Attorneys’ Fees and Incentive Award

(“Frederick Decl.”), ¶¶ 1-8. As discussed above, the proposed settlement offers the Settlement

Class a large measure of the relief sought and which could be obtained at trial. Thus, in

counsel’s view, the proposed settlement is fair, reasonable and in the best interest of the

Settlement Class. Frederick Decl., ¶¶ 15-17.



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          E.      The Time And Expense Of Protracted Litigation Makes Settlement
                  Appropriate

          Settlement promotes the interests of the litigants by saving them the expense of trial of

disputed issues and reduces the strain on already overburdened courts. See Benson v. Newman, 409

U.S. 1039 (1972); Enterprise Energy, supra, 137 F.R.D. at 247-48 (class action settlement serves

interests of both litigants and public by avoiding a time-consuming trial and appeal).

          Engaging in complex litigation of this nature is a very expensive, time-consuming

process for the parties and the courts. With continued litigation of the issues raised in this action,

Settlement Class Members who have already waited more than two and three years for

resolution1 would have to wait even longer before any resolution is reached, during which time

the Class Representative would incur additional expenses in this litigation. Of course, this time

and expense is not certain to pay off with a verdict in favor of the Class should this litigation

culminate in a trial (and, ultimately, an appeal). See In re Telectronics Pacing Systems, Inc., 137

F. Supp. 2d 1029, 1013 (S.D. Ohio 2001)(risk, expense, complexity and duration of litigation

favor settlement).

          By reaching the proposed settlement, the parties have dispensed with the need for further

protracted litigation. Upon final approval, if given, the proposed settlement will have established

a significantly faster, and guaranteed favorable resolution of Settlement Class Members’ claims

against Wells Fargo.

          F.      There Is No Opposition To The Proposed Settlement

          As noted above, notice was published in ten (10) prominent Ohio newspapers of general

circulation and each Settlement Class Member was sent notice of the proposed settlement by first

class mail addressed to his or her last known address. The envelopes were marked “address

1   Plaintiffs filed this case in the Cuyahoga County Court of Common Pleas on March 2, 2012.
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correction requested,” and for any returned notice, the Settlement Administrator used its best

efforts to obtain a current mailing address, including seeking an address correction through

LexisNexis. In response to this notice program, no objections have been raised, and no

Settlement Class Members have opted out. Based upon this unanimously favorable response to

the proposed settlement, there is no reason to delay final approval. Hainey v. Parrott, 617 F.

Supp. 2d 668, 675 (S.D. Ohio, 2007) ("a small number of objections, particularly in a class of

this size, indicates that the settlement is fair, reasonable and adequate"); Kogan, 193 F.R.D. at

503 ("in making this determination, the Court is greatly persuaded by the fact that none of the

Class Members objected to the settlement agreement").

       G.      The Parties Negotiated The Proposed Settlement In Good Faith

       This lawsuit has been pending since March 2012. The proposed settlement was

negotiated at arm’s length, after a protracted and often contentious mediation process with some

of it overseen by Judge Richard Neville [ret.]. Thus, there is not even a hint of bad faith or

collusion surrounding the proposed settlement to undermine its fairness or adequacy.

     VI.     The Court Should Certify The Proposed Settlement Class For Purposes Of
                                       Settlement

       On January 22, 2014, the Court certified the proposed class for settlement purposes.

[Order, ¶ 2]. No party or class member has objected to certification. In addition, nothing has

changed since the Court’s Order on Preliminary Approval that would make the class un-

certifiable or that changes the basis on which it may be finally approved. For this reason,

Plaintiffs will not repeat the discussion of the reasons making certification of a settlement class

appropriate here. See, Memorandum In Support Of Motion For Preliminary Approval Of

Proposed Class Action Settlement Agreement, pp. 8-16.


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    VII.    The Court Should Approve Class Counsel’s Fee Application And Plaintiffs’
                                  Incentive Payment

       Class Counsel seek an award of attorneys’ fees and expenses in the amount of $475,000,

less the costs of notice and administration which will be paid back to Wells Fargo from the

Settlement Fund, as reasonable compensation for obtaining the settlement now before the Court.

The requested fee award represents less than 2.0% of the total monetary recovery obtained for

the Settlement Class. This percentage is significantly below the 25% “benchmark” of the

recovery for attorneys’ fees recognized by the courts. See Eisenberg & Miller, Attorney Fees In

Class Action Settlements: An Empirical Study, J. Empirical Legal Studies, Volume 1, Issue 1, at

73 (2004)(mean fee award for cases with class benefits ranging from $3.1 to $5.2 Million is 25%

of the fund and the median is 29.4% of the fund). The Settlement Agreement also provides for an

incentive award of $2,500 for each of the named Plaintiffs. The amounts of the requested fee and

incentive awards were clearly disclosed in the notice. No Settlement Class Member objected to

the requested attorneys’ fees or the incentive award. The parties have stipulated to the amount of

attorneys’ fees and the incentive award in the Settlement Agreement.

       For the reasons set forth in greater detail below, Class Counsel’s attorneys’ fees request is

reasonable and fully warranted by the circumstances of this case. See generally, Frederick Decl.

Class Counsel filed and litigated this case on a purely contingent basis. Frederick Decl., ¶ 18.

The amount of the requested fee is substantially below amounts that Ohio courts have deemed

appropriate in similar cases. The results obtained for the class are excellent and achieved with




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efficiency and skill. Plaintiffs were actively involved in the case and performed important

services on behalf of the Settlement Class. Frederick Decl., ¶ 15.

            A.     The Requested Fee Award Is Reasonable And Should Be Approved

       Apart from the excellent result obtained for the class, which is the primary determinant of

the appropriateness of the requested fee, other considerations relevant to the fee review include

the nature of the litigation, whether sufficient discovery was conducted to enable an informed

settlement decision, and the context of the fee negotiation process. Consideration of each of these

factors, which are discussed more fully below, supports approval of the fee requested.

       1.        The Requested Fee of Less Than 2.0% Of The Monetary Class Recovery Is
                 Manifestly Reasonable In Relation To The Size Of The Settlement And The
                 Number Of Class Members Who Will Benefit From The Settlement

       The standard applied to determine the percentage awarded is reasonableness under the

circumstances of a particular case. Blum v. Stenson, 465 U.S. 886, 900 n.16 (1984); Bowling v.

Pfizer, Inc., 102 F.3d 777, 779 (6th Cir. 1996) (stating that an “award of attorneys’ fees in

common fund cases need only be ‘reasonable under the circumstances’”).

       Although the actual percentage awarded to class counsel consequently varies from case to

case, “[g]enerally, in common fund cases, the fee percentages range from 10 to 30 percent (10%

- 30%) of the common fund created.” See In re Telectronics Pacing Systems, Inc., 137 F. Supp.

2d 1029, 1042 (S.D. Ohio 2001) (approving fee award of over $16,000,000, representing nearly

27% of the common fund); Brotherton v. Cleveland, 141 F. Supp. 2d 907, 913 (S.D. Ohio 2001)

(noting that $1,000,000 fee award was 20% of the common fund and thus was “still within the

lower range of reasonableness, which has been designated as between twenty to fifty percent of

the common fund”); In re DPL Inc., Securities Litigation, 307 F. Supp. 2d 947, 954 (S.D. Ohio

2004) (awarding fee of 20% of the common fund). Indeed, some courts have targeted 25 percent

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as the “benchmark” award which should be given in common fund cases. Paul, Johnson, Alston

& Hunt v. Graulty, 886 F.2d 268, 271 (9th Cir. 1989) (“25 percent has been a proper

benchmark”), cited in Telectronics Pacing Systems, 137 F. Supp. 2d at 483. See also Eisenberg

& Miller, supra.

       The request for a $475,000 award of attorneys’ fees, costs, and expenses, less the cost of

notice and administration which is payable out of the Settlement Fund back to Wells Fargo,

easily meets the standard of reasonableness when evaluated as a percentage of the fund. The

requested award represents less than 2.0% of the total value of the monetary portion of

$22,148,061.94 million settlement to the class,2 far below the “benchmark” typically awarded in

class action cases. Hence, from a purely numerical perspective, the requested award of

attorneys’ fees is well below the accepted standard.

       The settlement also provides non-monetary benefits that significantly enhance its value to

Settlement Class Members. It requires Wells Fargo to report Settlement Class Members’

deficiency balances as zero to the credit reporting bureaus, thereby improving Settlement Class

Members’ credit scores. [Settlement Agreement, p. 7]. Although not economically quantifiable,

these benefits enhance the value of the settlement to Class Members and should be considered in

determining the reasonableness of the attorneys’ fee. See Fed. R. Civ. P. 23(b) advisory

committee’s note (“…it is important to recognize that in some class actions the monetary relief

obtained is not the sole determinant of an appropriate attorney fees award”).




2Under Ohio law, the more than $21 million in credits to customer accounts for unpaid
deficiency balances is properly included in the total value of the common fund. See Rocca v.
Wilke, 53 Ohio App. 2d 8, 10 (1st App. Dist. 1977) (finding that trial court properly included
“credits” to taxpayer accounts in calculating the total amount of the common fund).

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       As such, the requested fee award is extremely reasonable: it provides compensation to

Class Counsel that is well below the standard percentage awarded to attorneys in other cases

while providing the class with a measure of recovery that far exceeds the norm, and represents a

substantial portion of realistically recoverable damages.

       2.      The Requested Fee Is Reasonable Relative To The Risks Involved In This
               Litigation
       The fee request becomes even more modest when one looks beyond the numbers to the

equitable factors and policy interests at stake in this particular action. Class Counsel has

prosecuted this action since March 2012, undertaking significant investigation and legal work in

the process, as well as making an extended effort to settle this case. Although Class Counsel

believes that Plaintiffs have meritorious claims, success is never assured in litigation. The efforts

of Class Counsel allowed them to negotiate a high value settlement for the Settlement Class, and

to avoid the risk and uncertain outcome of a fully contested matter.

       3.      The Non-Collusive Nature Of The Settlement Negotiations Demonstrates
               That The Fee Request Is Fair And Reasonable

       The context in which the parties negotiated the agreement on fees also demonstrates its

reasonableness. As discussed above, the settlement negotiations themselves were detailed and

prolonged, and were conducted at arm’s length, under the auspices of a respected Mediator,

Richard Neville. The parties submitted mediation briefs and legal authorities to Mediator

Richard Neville prior to mediation, and engaged in a full day session before bridging some of the

gap to settle. The parties then continued to negotiate eventually coming to terms on the material

components of settlement. The parties then hammered out the details of the settlement and the

language of the agreement over the course of several months. The requested attorneys’ fee was




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negotiated only after all material terms of the settlement had been agreed upon. Frederick Decl.,

¶ 18.

          Wells Fargo is represented by exceedingly competent and well-respected outside counsel,

well-informed in fee jurisprudence and skilled in legal negotiation. As such, the end result of

these negotiations, which reflects both sides' informed judgment of what is reasonable as a fee in

these circumstances, is entitled to a great deal of weight in considering approval of the

Stipulation. As Judge Wolin explained in In re Prudential Ins. Co. of America Sales Practices

Litig.:

                      The parties in this case followed the proper procedure [that recommended by
                      the Third Circuit Task Force]. Plaintiff’s counsel and Prudential entered into
                      fee negotiations only after the Settlement Agreement was otherwise
                      negotiated. . . . Under these circumstances, there is no reason to believe that
                      Prudential’s counsel – having already fixed the other terms of the Settlement
                      Agreement . . . consented to the requested fee for any reason other than their
                      belief in its reasonableness under all the circumstances of this case.
962 F. Supp. at 577.3

          4.     The Requested Fee Is Also Reasonable Under The Lodestar and Multiplier
                 Cross-Check

          To determine the reasonableness of the fee award provided for in the Settlement

Agreement, the Court may apply two standards of evaluation: the percentage-of-the-fund

approach or the lodestar-and-multiplier method. In a settlement such as this, where a common



3 See, e.g., In re First Capital Holdings Corp. Fin. Prods. Sec. Litig., MDL No. 901, 1992 U.S. Dist.
LEXIS 14337 at *13 (C.D. Cal. June 10, 1992) (“[T]he fee was negotiated at arms' length with
sophisticated defendants by the attorneys who were intimately familiar with the case, the risks,
the amount and value of their time, and the nature of the result obtained for the class. . . . [T]he
Court is reluctant to interpose its judgment as to the amount of attorneys' fees in the place of the
amount negotiated. . . .”); In re M.D.C. Holdings Sec. Litig., [1990 Transfer Binder] Fed. Sec. L.
Rep. (CCH) ¶95,474 at 97,487-88 (S.D. Cal. Aug. 30, 1990) (“Because this Court believes the
parties should be encouraged to settle all their disputes as part of the settlement . . ., including
the amount of the fee, it believes that if the agreed-to fee falls within a range of reasonableness,
it should be approved as part of the negotiated settlement between plaintiffs and defendants.”).
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fund is created, the jurisprudence tends to favor the percentage of fund approach. Telectronics,

137 F. Supp. 2d at 483, citing In re Southern Correctional Facility, 173 F.R.D. 205, 217 (S.D.

Ohio 1997); Bowling, 102 F.3d at 1278-79. In recent years, some courts have adopted a blended

approach of applying the percentage-of-the-benefits method and cross-checking it against the

lodestar and multiplier approach (or vice versa). In re Sulzer Hip Prosthesis Litigation, 268 F.

Supp. 2d 907, 923 (N.D. Ohio 2003) (noting that courts use each method to “cross-check the

other and ensure that each attorney who is awarded a common benefit fee receives a reasonable

one”); see also Alba Conte, Attorney Fee Awards, § 2.06 at 38-39 (2d ed. 1997).

       The lodestar calculation also reflects reasonable hourly rates. Class Counsel’s firm is an

experienced class action litigation firm with particular expertise in litigating post-repossession

notice claims, the claims at issue in this case. See Frederick Decl., ¶¶ 3-8. Class Counsel’s firm

rates are consistent with prevailing market rates for attorneys in Ohio of comparable skill and

experience. Ronald Frederick’s rates were approved by the court in Washington v. Spitzer Mgmt.

Inc., Case No. CV-00-414549 (Cuyahoga Court of Common Pleas) (June 20, 2005) (J. Matia);

Hall v. Capital One Auto Finance, Inc., Case No. 1:08-CV-1181 (Northern District Ohio, Oct.

22, 2010 (J. Nugent). Frederick Decl., ¶ 19.

       The use of the lodestar analysis as simply a cross-check against a percentage of fund

award is appropriate in class cases and gives courts additional justification for the determination

that a fee is reasonable. Where significant results are obtained, courts have consistently used

high multipliers of the lodestar in awards compensating the attorneys who achieved those results.

See, e.g., Weiss v. Mercedes-Benz of North America, Inc., 899 F. Supp. 1297, 1304 (D.N.J. 1995)

(lodestar multiplier of 9); In re RJR Nabisco, Inc., Sec. Litig, [1992 Transfer Binder] Fed. Sec. L.

Rep. (CCH) ¶ 96,984 at 94,267 (S.D.N.Y. 1992) (lodestar multiplier of 6); Cosgrove v. Sullivan,

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759 F. Supp. 166, 169 (S.D.N.Y. 1991) (lodestar multiplier of 8.74); Donald R. Szydlik v.

Associates National Bank, No. 92-1025, slip op. at 8 (W.D. Pa. Sept. 19, 1997) (lodestar

multiplier of 8.5); Glendora Community Redevelopment Agency v. Demeter, 155 Cal. App. 3d

465, 479, 203 Cal. Rptr. 389, 398 (Cal. Ct. App. 1984) (lodestar multiplier of 12).

        Here, the resulting lodestar of Class Counsel’s firm, based upon the number of hours

reasonably expended multiplied by the reasonable hourly rates as of the filing of this brief is

approximately $153,800.4 Frederick Decl., ¶ 18. Class Counsel conservatively estimates that, by

the conclusion of the final approval and attorneys’ fees hearing in this matter, the lodestar will

exceed $165,000. Frederick Decl., ¶ 18. Considering both the projected final lodestar and the

additional costs and expenses, the requested fee award will represent a multiplier of less than 2.6.

The substantial benefits achieved for the class in this case fully justify the negotiated fee using

the lodestar multiplier cross-check as well.

        5.     The Absence Of Objections Demonstrates That The Fee Request Is Fair And
               Reasonable
        Not one class member has objected to settlement or to the requested attorneys’ fee. The

amounts of the requested fee and incentive awards were clearly disclosed in the notice. The

absence of any objections to the requested awards further demonstrates that the awards are fair

and reasonable.

    VIII. The Class Representatives’ Request For An Incentive Award Is Reasonable And
                     Warranted By The Circumstances Of This Case

        The Settlement Agreement provides for a modest incentive award to each Plaintiff in the

amount of $2,500. [Settlement Agreement, p. 12]. This award is intended to recognize the time

4 This lodestar figure does not include any future work involved with monitoring the
Settlement Agreement or responding to class member inquiries. Nor does it include costs and
expenses. As is verified by the cost records submitted herewith [Frederick Decl., ¶ 18], Class
Counsel has incurred $5926.52 in costs and expenses as of the date of filing this brief.
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and effort that the Plaintiffs have invested in the case on behalf of the Class. “Courts routinely

approve incentive awards to compensate named plaintiffs for the services they provide and the

risks they incurred during the course of the class action litigation.” In re Southern Ohio

Correctional Facility, 175 F.R.D. 270, 272 (S.D. Ohio 1997). See Enter. Energy Corp., 137

F.R.D. at 251 (approving incentive awards of $50,000 to each of the class representatives out of

a settlement fund of $56.6 million); In re Dun & Bradstreet, 130 F.R.D. 366, 373-74, (S.D. Ohio

1990) (approving incentive awards ranging from $35,000 to $55,000 out of a $18 million

settlement fund); Brotherton v. Cleveland, 141 F.Supp.2d 907, 913-14 (S.D. Ohio 2001)

(granting a $50,000 incentive award out of a $5.25 million fund).

       In this case, the Class Representatives: (1) assisted counsel in investigating and

substantiating the claims alleged in this action; (2) assisted in the preparation of the complaint;

(3) attended court proceedings including Mr. Reese flying to Cleveland from Dallas; (4) and

reviewed pleadings, correspondence, other documentation received from Class Counsel in order

to keep themselves apprised of the progress of the litigation, as well as the settlement proposal.

Frederick Decl., ¶ 15. Moreover, as with any party who files a civil action, the Class

Representative undertook the financial risk that, in the event of a judgment in favor of Wells

Fargo in this action, they both could have been personally saddled with the costs awarded in

favor of Wells Fargo.

       The requested incentive award was described in the Notice to the Settlement Class. No

Settlement Class Member objected to the incentive award being requested. In the aggregate, the

incentive award represents only a miniscule percentage (0.0056%) of the total monetary

recovery. In light of the work that the Class Representative performed on behalf of Settlement



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Class Members, and the Settlement Class Members’ response to the settlement, the requested

incentive award is reasonable and appropriate.



                                         IX.     Conclusion

       For all of the foregoing reasons, Plaintiffs requests that this Court approve the Settlement

Agreement as fair, adequate and reasonable.



                                               Respectfully submitted,

                                               /s/ Ronald Frederick
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                                       Certificate of Service
       I hereby certify that on May 27, 2014 a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.


                                                       /s/ Ronald Frederick
                                                       Ronald Frederick




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